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lN THE uNlTED sTATEs DlsTRlcT coum"“‘g " " '
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wEsTERN olvlsloN ' " "

 

 

UN|TED STATES OF AMERICA
P|aintiff

VS.
CR. NO. 04-20291-D

CARLOS WlLL|A|\/fS

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May19,2005. At that time, counsel forthe
defendant requested a hearing on a motion to suppress

The Court granted the request and reset the trial date to August 1, 2005 with a

suppression hearinglregort date of Fridav. Julv 1. 2005, at 10:00 a.m., in Courtroom
3, 9th Floor ofthe Federa| Building, Nlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

n ls so oRoERED ahiso'€@ day of May, 2005_

 
    

B RN|CE B. D NALD
NlTED STATES D|STRICT JUDGE

This document entered on the docket sheetl compllance
with Ftu|e 55 and/or 32(b) l`-‘HCrP on` i’¢,£f §

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UNITED sATE DISTRICT COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20291 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

